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 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
10
11 THE UPPER DECK COMPANY,                                   )    Case No: 3:21-cv-001182-GPC-KSC
                                                             )
     A Nevada corporation,                                   )    Hon. Gonzalo P. Curiel
12                                                           )
                             Plaintiff,                      )    DEFENDANT’S REPLY AND
13                                                           )    OBJECTIONS TO OPPOSITION
                                                             )    TO MOTION TO SET ASIDE
14 v.                                                        )    DEFAULT
                                                             )
15                                                           )    Hearing Date: October 29, 2021
   MIGUEL FLORES, an individual,                             )
16 and DOES 1-100, inclusive,                                )    Time: 1:30 p.m.
                                                             )    Courtroom: 2D
17                                                           )
                             Defendants.                     )
18
19          Defendant Miguel Flores, through the undersigned counsel, respectfully submits this reply and

20   memorandum of law in response to Plaintiff’s Opposition, and in furtherance of Flores’ Motion to Set

21   Aside the Clerk’s Default (Dkt. 8) . Having reviewed Plaintiff Upper Deck’s Opposition Brief, Flores

22   maintains that he and his counsel have plainly demonstrated “good cause” for the relief sought and
23   thusly the Court should accept (and grant) Defendant’s Motion to Dismiss (Dkt. No. 9) as was filed
24   herein on the same day that Default was entered, namely August 10, 2021. (Dkt. No. 7)
25          While Plaintiff focused its entire Opposition brief disputing that there is good cause to set aside
26   the default, it has only challenged one singular issue, maintaining (albeit facetiously, scandalously and
27   unreasonably) throughout its brief, that somehow Flores’ brief delay in having his counsel prepare and
28


     DEFENDANT’S REPLY TO OPPOSITION AND ISO MOTION TO SET ASIDE DEFAULT                                1
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 1   file the detailed and complex Motion to Dismiss the Plaintiff’s (highly defective) First Amended
 2   Complaint (Dkt. 4), despite the clear and obvious temporary, severe and unanticipated hardships
 3   described in the declarations of undersigned counsel, that somehow, Flores’ default was willful,
 4   intentional and due to the allegedly culpable conduct of the undersigned counsel.
 5          As to that issue, Plaintiff plainly ignored the fact that Respondent’s motion to vacate
 6   demonstrates ample and sufficient details showing good cause for its very brief delay, and in particular
 7   the unfortunate and unavoidable obstacles that prevented counsel from responding to the checkered,
 8
     conclusory and plainly insufficient Complaint(s) filed by Plaintiff. In its Opposition Brief, Upper
 9
     Deck’s counsel has raised little more than plainly objectionable irrelevant and inadmissible materials,
10
     has blatantly miscited and mischaracterized a series of facts that are hardly germane to the Instant
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     Motion and has once again, carelessly made false and frivolous statements and otherwise only offered
12
     more unsupported nonsensical argument and fatuous commentary, most notably its unsupported
13
     claims that Mr. Flores “counterfeited” its products or otherwise violated any cognizable right owned
14
     by Upper Deck by selling less than a handful of collector’s trading cards, most of which were
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     manufactured and labeled as Fleer, Topps, Star or some brand other than Upper Deck.
16
            Thus, as a backstop to avoid having to explain or prove any of its misguided allegations, Upper
17
     Deck offers the Court nothing more than ‘poppycock” and plainly irrelevant, immaterial and relatively
18
     scandalous 21-year old allegations against the undersigned counsel without any justification
19
20   whatsoever.

21          Moreover, without any factual basis, Upper Deck’s counsel had taken issue with many of the

22   otherwise undisputed representations of the undersigned counsel, made solemnly, and as an officer of

23   this tribunal, including, without limitation: - that extraordinary time was required to review the (often

24   erroneous, inconsistent and plainly inadequate) allegations contained in the Complaint(s), and to

25   analyze the relevant law on point sufficiently to prepare Flores’ Motion to Dismiss; -that significant

26   time was required for counsel to address ongoing discovery disputes and Motions in unrelated
27   proceedings and other pressing client intellectual property registration, renewal and litigation matters
28   including several TTAB proceedings and Federal District Court cases wherein he serves as lead



     DEFENDANT’S REPLY TO OPPOSITION AND ISO MOTION TO SET ASIDE DEFAULT                                2
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 1   counsel, thusly demanding immediate attention; and, most importantly: -that to the extent that the
 2   Response was (regrettably) filed a few days weeks late, it was caused, by a set of special
 3   circumstances, wherein for good cause, the undersigned counsel was unavailable to briefly attend to
 4   the Response - particularly including the death of the undersigned counsel’s mother on June 5, 2021,
 5   her funeral on June 9, 2021, and a number of personal, family, and health challenges that persisted into
 6   the month of August.
 7          Flores further maintains (and Plaintiff cannot dispute) that the filing of Flores’ detailed Motion
 8
     to Dismiss and his Motion to Set Aside the Default at issue herein, themselves, are undisputed
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     evidence that the default was not willful and that Flores has an interest in litigating the case on its
10
     merits. Based on these facts, and Plaintiff’s bombastic and specious claims notwithstanding, certainly
11
     good cause for relief has been established. Defendant Flores is entitled to his “day in court” and
12
     Plaintiff is not entitled to any windfall due an minimally overdue pleading, filed amidst the many
13
     COVID related, political, natural and geographic issues that we all face every day. In short, Plaintiff’s
14
     Opposition, while full of sound and thunder signifies nothing, but a lack of decorum and a waste of the
15
     parties and Court’s valuable time.
16
            CONCLUSION
17
            Under the circumstances, it would likely be reversible judicial error not to set aside the default
18
     and to permit Mr. Flores to defend in this (overblown) and hotly contest matter, where he has shown
19
20   no intent to default, and both good cause for the brief delay and a highly meritorious defense against

21   Plaintiff’s serious, yet legally insufficient, overbroad and conclusory allegations made against him

22   Respectfully submitted,                                        ANDERSON LAW

23   Dated: October 8, 2021                                         by:___/StephenLAnderson/__
                                                                    Stephen L. Anderson
24                                                                  Attorney for Miguel Flores
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27
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     DEFENDANT’S REPLY TO OPPOSITION AND ISO MOTION TO SET ASIDE DEFAULT                                  3
